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                              UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS



 STATE OF CALIFORNIA;
 COMMONWEALTH OF
 MASSACHUSETTS; STATE OF NEW
 JERSEY; STATE OF COLORADO; STATE
 OF ILLINOIS; STATE OF MARYLAND;                            Case No. 1:25-cv-10548
 STATE OF NEW YORK; and STATE OF
 WISCONSIN,

        Plaintiffs,

                      v.

 U.S. DEPARTMENT OF EDUCATION;
 DENISE CARTER, in her official capacity as
 former Acting Secretary of Education and
 current acting Chief Operating Officer, Federal
 Student Aid; LINDA MCMAHON, in her
 official capacity as Secretary of Education,

        Defendants.




DECLARATION OF ADELAIDE PAGANO IN SUPPORT OF PLAINTIFFS’ MOTION
              FOR TEMPORARY RESTRAINING ORDER

       Adelaide Pagano, an attorney admitted to practice before this Court and admitted to

practice before the Courts of Massachusetts, does hereby state the following under penalty of

perjury, pursuant to 28 U.S.C. § 1746:

       1.      I am Adelaide Pagano, Assistant Attorney General in the Office of the Attorney

General for the State of Massachusetts, and I appear on behalf of the Commonwealth of

Massachusetts in this action.




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        2.     I submit this declaration in support of Plaintiff States’ Motion for Temporary

Restraining Order, pursuant to Federal Rule of Civil Procedure 65. The facts set forth herein are

based upon my personal knowledge and/or a review of the files in my possession.

        3.     I have attached hereto this declaration, true and correct copies of factual

declarations and all exhibits to such declarations, as follows:

        4.     Attached hereto as Exhibit 1 is the Declaration of Denise Barton, Chief Deputy

General Counsel of University of Massachusetts, dated March 4, 2025.

        5.     Attached hereto as Exhibit 2 is the Declaration of Marisa Olivo, Director of

Teacher Pipeline Programs at Boston Public Schools in Massachusetts, dated March 3, 2025.

        6.     Attached hereto as Exhibit 3 is the Declaration of A. Dee Williams, Professor in

the College of Education at California State University, Los Angeles, dated March 3, 2025.

        7.     Attached hereto as Exhibit 4 is the Declaration of Jennifer Oloff-Lewis, Professor

in the College of Communication and Education’s School of Education at California State

University, Chico, dated March 4, 2025.

        8.     Attached hereto as Exhibit 5 is the Declaration of Benjamin Seipel, Professor of

Education within the School of Education at California State University, Chico, dated March 4,

2025.

        9.     Attached hereto as Exhibit 6 is the Declaration of Jessica Jensen, Associate

Professor in the School of Education at California Polytechnic State University, San Luis

Obispo, dated March 5, 2025.

        10.    Attached hereto as Exhibit 7 is the Declaration of Briana Ronan, Associate

Professor in the School of Education at California Polytechnic State University, San Luis

Obispo, dated March 5, 2025.



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        11.   Attached hereto as Exhibit 8 is the Declaration of Marcia L. Smith, Associate

Vice Chancellor for Research Administration at University of California, Los Angeles, dated

March 5, 2025.

        12.   Attached hereto as Exhibit 9 is the Declaration of Amy Cuhel-Shuckers, Director

of Grants and Sponsored Research at The College of New Jersey, dated March 5, 2025.

        13.   Attached hereto as Exhibit 10 is the Declaration of Jonathan GS Koppell,

President of Montclair State University, dated March 5, 2025.

        14.   Attached hereto as Exhibit 11 is the Declaration of Kenneth Christensen,

Chancellor of University of Colorado Denver, dated March 4, 2025.

        15.   Attached hereto as Exhibit 12 is the Declaration of Edmundo Garcia-Solis,

Associate Provost of Grants and Research Administration at Chicago State University, dated

March 4, 2025.

        16.   Attached hereto as Exhibit 13 is the Declaration of Benjamin Felton, Chief Talent

Officer at Chicago Public Schools, dated March 5, 2025.

        17.   Attached hereto as Exhibit 14 is the Declaration of Laurie Mullen, Dean of the

College of Education at Townson University, dated March 4, 2025.

        18.   Attached hereto as Exhibit 15 is the Declaration of Segun Eubanks, Director of

Center for Educational Innovation at University of Maryland, College Park, dated March 4,

2025.

        19.   Attached hereto as Exhibit 16 is the Declaration of Tiffany Dejaynes, Associate

Professor of Education at Lehman College at the City University of New York, dated March 4,

2025.




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         20.     Attached hereto as Exhibit 17 is the Declaration of Amanda Winkelsas, Clinical

Associate Professor at State University of New York, dated March 5, 2025.

         21.     Attached hereto as Exhibit 18 is the Declaration of Kimber Wilkerson, Professor

in the Department of Rehabilitation Psychology and Special Education at University of

Wisconsin-Madison, dated March 4, 2025.

         22.     Attached hereto as Exhibit 19 is a copy of the National Center for Education

Statistics, U.S. Department of Education, Press Release, Most U.S. public elementary and

secondary schools faced hiring challenges for the start of the 2024–25 academic year (Oct. 17,

2024), available at https://nces.ed.gov/whatsnew/press_releases/10_17_2024.asp (last viewed

Mar. 5, 2025).

         23.     Attached hereto as Exhibit 20 is the U.S. Department of Education’s internal

directive titled, “Eliminating Discrimination and Fraud in Department Grant Awards,” signed by

Acting Secretary Denise Carter on February 5, 2025, as published on social media app Bluesky

(Prem Thakkar (@premthakker.bsky.social), Bluesky (Feb. 5, 2025, 2:08 p.m.).

         24.     Attached hereto as Exhibit 21 is the U.S. Department of Education, Supporting

Effective Educator Development Grant Program, Home, available at https://www.ed.gov/grants-

and-programs/teacher-prep/supporting-effective-educator-development-grant-program#home

(last viewed Mar. 5, 2025).



Dated:         Boston, Massachusetts
               March 6, 2025


                                              __s/Adelaide Pagano__________________
                                                     Adelaide Pagano
                                                     Assistant Attorney General
                                                     Office of the Attorney General
                                                     Commonwealth of Massachusetts

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                               CERTIFICATE OF SERVICE
      I, Adelaide Pagano, certify that on March 6, 2025, I provided a copy of the forgoing
document to individuals at the U.S. Department of Justice by electronic mail:

       Alex Haas
       Co-Director, Federal Programs Branch
       alex.haas@usdoj.gov

       Diane Kelleher
       Co-Director, Federal Programs Branch
       diane.kelleher@usdoj.gov

       Rayford Farquhar
       Chief, Defensive Litigation, Civil Division
       U.S. Attorney’s Office for the District of Massachusetts
       rayford.farquhar@usdoj.gov


                                                  /s/ Adelaide Pagano
                                            Adelaide Pagano (BBO #690518)
                                            Assistant Attorney General




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